Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 1 of 11



                       UNITED STATES
                       UNITED STATES DISTRICT
                                     DISTRICT COURT
                                              COURT
                       SOUTHERN  DISTRICT OF FLORIDA
                       SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 1:20-CV-21254-BLOOM/LOUIS
                      CASE NO. 1:20-CV-21254-BLOOM/LOUIS

   SECURITIES AND EXCHANGE
   SECURITIES AND EXCHANGE
   COMMISSION,
   COMMISSION,

                          Plaintiff,
                          Plaintiff,

   v.
   v.


   JUSTIN W.
   JUSTIN W. KEENER
             KEENER D/B/A
                    D/B/A JMJ
                          JMJ
   FINANCIAL,
   FINANCIAL,

                          Defendant.
                          Defendant.


                 DEFENDANT   JUSTIN W.
                 DEFENDANT JUSTIN   W. KEENER'S
                                       KEENER’S RESPONSE TO
                                                RESPONSE TO
        PLAINTIFF SECURITIES AND
        PLAINTIFF SECURITIES AND EXCHANGE
                                 EXCHANGE COMMISSION'S
                                            COMMISSION’S OBJECTIONS
                                                         OBJECTIONS
            TO MAGISTRATE
            TO MAGISTRATE JUDGE'S
                           JUDGE’S REPORT AND RECOMMENDATION
                                   REPORT AND  RECOMMENDATION
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 2 of 11



  I.
  I.     INTRODUCTION
         INTRODUCTION

         On August 8,
         On August 8, 2022,
                      2022, Magistrate
                            Magistrate Judge
                                       Judge Louis
                                             Louis issued
                                                   issued aa Report
                                                             Report and
                                                                    and Recommendation
                                                                        Recommendation (“Report”)
                                                                                       ("Report")

  (ECF No. 138)
  (ECF No. 138) regarding
                regarding the
                          the disposition of the
                              disposition of the Motion
                                                 Motion for
                                                        for Remedies
                                                            Remedies (ECF No. 122)
                                                                     (ECF No. 122) filed by Plaintiff
                                                                                   filed by Plaintiff

  Securities and
  Securities and Exchange
                 Exchange Commission
                          Commission (“SEC”). The Report
                                     ("SEC"). The        did not
                                                  Report did not entirely
                                                                 entirely please
                                                                          please either
                                                                                 either side,
                                                                                        side, as
                                                                                              as both
                                                                                                 both

  filed objections. Defendant
  filed objections. Defendant Justin
                              Justin W.
                                     W. Keener
                                        Keener (“Mr.
                                               ("Mr. Keener”) respectfully submits
                                                     Keener") respectfully submits this
                                                                                   this response
                                                                                        response to
                                                                                                 to

  the SEC’s Objections
  the SEC's            to the
            Objections to the Report
                              Report (“SEC
                                     ("SEC Objs.”)
                                           Objs.") (ECF No. 139).
                                                   (ECF No. 139).

         The SEC's
         The SEC’s Objections have one
                   Objections have one overriding
                                       overriding theme – the
                                                  theme —     desire to
                                                          the desire to punish Mr. Keener
                                                                        punish Mr. Keener to
                                                                                          to the
                                                                                             the

  maximum extent
  maximum extent possible. Thus, it
                 possible. Thus, it seeks
                                    seeks to base the
                                          to base the disgorgement
                                                      disgorgement calculation on transactions
                                                                   calculation on transactions (i) that
                                                                                               (i) that

  pre-date the
  pre-date the time period that
               time period      it defined
                           that it defined in
                                           in its
                                              its own
                                                  own Complaint
                                                      Complaint (ECF No. 1)
                                                                (ECF No. 1) and
                                                                            and for which it
                                                                                for which it did
                                                                                             did not
                                                                                                 not

  offer proof
  offer proof during
              during the
                     the liability
                         liability phase, and (ii)
                                   phase, and (ii) that are inconsistent
                                                   that are inconsistent with
                                                                         with this
                                                                              this Court’s Order on
                                                                                   Court's Order on the
                                                                                                    the

  Motions for
  Motions     Summary Judgement
          for Summary Judgement (“Order”)
                                ("Order") (ECF No. 118).
                                          (ECF No. 118). The
                                                         The SEC
                                                             SEC also
                                                                 also claims
                                                                      claims that Judge Louis
                                                                             that Judge Louis

  erred in
  erred in determining
           determining the
                       the amount
                           amount of
                                  of prejudgment interest and
                                     prejudgment interest and the
                                                              the civil penalty, but
                                                                  civil penalty, but in
                                                                                     in both
                                                                                        both cases
                                                                                             cases it
                                                                                                   it

  does so
  does so without
          without offering
                  offering any
                           any legal
                               legal argument
                                     argument contradicting
                                              contradicting her
                                                            her conclusions – it
                                                                conclusions — it simply
                                                                                 simply contends
                                                                                        contends that
                                                                                                 that

  the amounts should
  the amounts should be
                     be higher.
                        higher. The
                                The SEC
                                    SEC evidently
                                        evidently has
                                                  has some
                                                      some type of vendetta
                                                           type of vendetta against
                                                                            against Mr.
                                                                                    Mr. Keener,
                                                                                        Keener,

  even though
  even        his violation
       though his violation was
                            was aa mere
                                   mere failure
                                        failure to register and
                                                to register and there has never
                                                                there has never been
                                                                                been any
                                                                                     any suggestion
                                                                                         suggestion that
                                                                                                    that

  he acted
  he acted with
           with scienter
                scienter or
                         or that
                            that the
                                 the transactions he pursued
                                     transactions he         were somehow
                                                     pursued were somehow egregious,
                                                                          egregious, improper
                                                                                     improper (aside
                                                                                              (aside

  from
  from the
       the fact
           fact that he had
                that he had not
                            not registered), or defrauded
                                registered), or defrauded anyone.
                                                          anyone. Enough is enough.
                                                                  Enough is         Judge Louis'
                                                                            enough. Judge Louis’

  Report, while flawed
  Report, while        in certain
                flawed in certain respects,
                                  respects, would
                                            would not
                                                  not under-penalize
                                                      under-penalize Mr.
                                                                     Mr. Keener. The SEC's
                                                                         Keener. The SEC’s Objections
                                                                                           Objections

  to
  to the
     the Report lack merit
         Report lack merit and
                           and should
                               should be
                                      be rejected.
                                         rejected.

  II.
  II.    ARGUMENT
         ARGUMENT

         The SEC
         The SEC objects
                 objects to
                         to three separate aspects
                            three separate aspects of
                                                   of Judge
                                                      Judge Louis'
                                                            Louis’ Report. First, it
                                                                   Report. First, it objects
                                                                                     objects to the scope
                                                                                             to the scope

  of the
  of the transactions Judge Louis
         transactions Judge Louis used
                                  used in
                                       in arriving
                                          arriving at
                                                   at her
                                                      her disgorgement
                                                          disgorgement recommendation.
                                                                       recommendation. Second,
                                                                                       Second, it
                                                                                               it

  objects to
  objects    her determination
          to her determination as
                               as to
                                  to the time period
                                     the time period for which prejudgment
                                                     for which             interest should
                                                               prejudgment interest should be
                                                                                           be imposed.
                                                                                              imposed.




                                                     1
                                                     1
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 3 of 11



  Third, it objects
  Third, it objects to
                    to her
                       her determination regarding the
                           determination regarding the appropriate
                                                       appropriate amount
                                                                   amount of
                                                                          of the
                                                                             the civil monetary penalty
                                                                                 civil monetary penalty

  that should be
  that should    imposed. Each
              be imposed.      issue is
                          Each issue is addressed
                                        addressed separately below.
                                                  separately below.

         A.
         A.      The SEC
                 The SEC Continues
                          Continues to Advocate for
                                    to Advocate for aa Disgorgement
                                                       Disgorgement Amount
                                                                     Amount Based on
                                                                            Based on
                 Transactions Not
                 Transactions Not Encompassed
                                  Encompassed by    This Court's
                                                by This   Court’s Order
                                                                  Order

         In objecting
         In objecting to
                      to Judge
                         Judge Louis'
                               Louis’ Report,
                                      Report, the SEC re-requests
                                              the SEC re-requests that
                                                                  that the
                                                                       the Court award aa disgorgement
                                                                           Court award    disgorgement

  amount equal
  amount equal to the amount
               to the amount the SEC originally
                             the SEC originally sought
                                                sought in
                                                       in its
                                                          its Motion
                                                              Motion for
                                                                     for Remedies. The SEC's
                                                                         Remedies. The SEC’s

  objections are
  objections are deficient
                 deficient in
                           in two aspects. First,
                              two aspects. First, the SEC seeks
                                                  the SEC seeks to
                                                                to include
                                                                   include transactions
                                                                           transactions from before 2015
                                                                                        from before 2015

  in its
  in its disgorgement
         disgorgement calculation.
                      calculation. This
                                   This Court stated that
                                        Court stated that the SEC is
                                                          the SEC is entitled
                                                                     entitled to relief for
                                                                              to relief for aa Relevant
                                                                                               Relevant

  Period starting
  Period starting in
                  in 2015
                     2015 and
                          and Judge
                              Judge Louis
                                    Louis appropriately
                                          appropriately limited
                                                        limited disgorgement
                                                                disgorgement to after 2015.
                                                                             to after 2015. See
                                                                                            See Report
                                                                                                Report

  at 22.
  at 22. Second,
         Second, the SEC seeks
                 the SEC seeks disgorgement
                               disgorgement for transactions other
                                            for transactions other than
                                                                   than converting convertible notes
                                                                        converting convertible notes

  and quickly
  and quickly reselling
              reselling the shares to
                        the shares    capture the
                                   to capture     spread, which
                                              the spread, which is
                                                                is what
                                                                   what this Court determined
                                                                        this Court determined made
                                                                                              made Mr.
                                                                                                   Mr.

  Keener aa dealer.
  Keener            These deficiencies
            dealer. These deficiencies are
                                       are addressed
                                           addressed separately.
                                                     separately.

                 1.
                 1.      The Relevant
                         The          Time Period
                             Relevant Time Period Begins in 2015
                                                  Begins in 2015

         Because the
         Because the Complaint was filed
                     Complaint was       on March
                                   filed on March 24,
                                                  24, 2020,
                                                      2020, this
                                                            this Court concluded on
                                                                 Court concluded on summary
                                                                                    summary

  judgment
  judgment that
           that the SEC "is
                the SEC “is entitled
                            entitled to
                                     to relief
                                        relief for conduct that
                                               for conduct      occurred on
                                                           that occurred on or
                                                                            or after
                                                                               after March
                                                                                     March 24,
                                                                                           24, 2015."
                                                                                               2015.”

  Order, at 30.
  Order, at 30. In so concluding,
                In so concluding, the
                                  the Court specifically noted
                                      Court specifically noted that
                                                               that the SEC had
                                                                    the SEC had "defin[ed]
                                                                                “defin[ed] the relevant
                                                                                           the relevant

  period as
  period as January
            January 2015
                    2015 through
                         through January
                                 January 2018."
                                         2018.” Id.
                                                Id. (citing
                                                    (citing Complaint
                                                            Complaint ¶ 1). Further, in both
                                                                            Further, in both its
                                                                                             its

  pleadings and
  pleadings and in
                in its
                   its presentation
                       presentation of
                                    of the evidence, the
                                       the evidence,     SEC focused
                                                     the SEC         entirely on
                                                             focused entirely on Mr.
                                                                                 Mr. Keener's
                                                                                     Keener’s conduct
                                                                                              conduct

  from January 2015
  from January 2015 forward—the “Relevant Period"
                    forward—the "Relevant Period” it
                                                  it defined—to satisfy the
                                                     defined—to satisfy the critical element that
                                                                            critical element that Mr.
                                                                                                  Mr.

  Keener was
  Keener was engaged in aa "business,"
             engaged in    “business,” as
                                       as the statute requires.
                                          the statute requires. For
                                                                For the SEC’s pleadings,
                                                                    the SEC's pleadings, see,
                                                                                         see, e.g.,
                                                                                              e.g.,

  Complaint ¶ 11 (defining
  Complaint ¶              “January 2015
                 (defining "January 2015 through January 2018"
                                         through January 2018” as
                                                               as the
                                                                  the Relevant Period); id.
                                                                      Relevant Period); id. ¶
                                                                                            ¶ 19
                                                                                              19

  (“Between January 2015
  ("Between January 2015 and
                         and January
                             January 2018,
                                     2018, Keener was not
                                           Keener was not registered
                                                          registered with
                                                                     with the SEC as
                                                                          the SEC as aa dealer or
                                                                                        dealer or

  associated with
  associated with aa dealer
                     dealer registered
                            registered with
                                       with the SEC”). For
                                            the SEC"). For the SEC’s evidence,
                                                           the SEC's           see, e.g.,
                                                                     evidence, see,       Pl.’s Mot.
                                                                                    e.g., Pl.'s Mot. for
                                                                                                     for

  Summ. J.,
  Summ. J., ECF No. 68,
            ECF No.     at 1-2,
                    68, at 1-2, 5-7
                                5-7 (providing
                                    (providing evidence of Mr.
                                               evidence of Mr. Keener's
                                                               Keener’s activity
                                                                        activity from 2015 to
                                                                                 from 2015 to 2017);
                                                                                              2017);

  Pl.’s Statement
  Pl.'s Statement of
                  of Material
                     Material Facts
                              Facts (“PSOF”),
                                    ("PSOF"), ECF No. 67
                                              ECF No. 67 ¶¶ 5-6, 11-10, 17-18,
                                                            5-6, 11-10, 17-18, 20-21,
                                                                               20-21, 23,
                                                                                      23, 26,
                                                                                          26, 36-37,
                                                                                              36-37,

                                                    2
                                                    2
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 4 of 11



  39-40, 42,
  39-40, 42, 45,
             45, 49,
                 49, 51,
                     51, 54,
                         54, 56,
                             56, 58-60,
                                 58-60, 62,
                                        62, 64-65,
                                            64-65, 67 (same);11 PSOF
                                                   67 (same);   PSOF Exs.
                                                                     Exs. 5, 12, 15-16,
                                                                          5, 12, 15-16, 18,
                                                                                        18, 20-21,
                                                                                            20-21, 23-25,
                                                                                                   23-25,

  28-34, 36
  28-34, 36 (same).
            (same).

            The SEC
            The SEC never
                    never even attempted to
                          even attempted to prove
                                            prove that Mr. Keener
                                                  that Mr.        was operating
                                                           Keener was operating as
                                                                                as aa "business"
                                                                                      “business” prior
                                                                                                 prior

  to
  to the
     the Relevant Period it
         Relevant Period it defined, which started
                            defined, which started in
                                                   in January
                                                      January 2015.
                                                              2015. See
                                                                    See Order at 9-10;
                                                                        Order at       PSOF at
                                                                                 9-10; PSOF at 3,
                                                                                               3, n.1
                                                                                                  n.1

  (“The SEC’s Complaint
  ("The SEC's Complaint pleaded
                        pleaded that
                                that the
                                     the Relevant Period was
                                         Relevant Period was January
                                                             January 2015
                                                                     2015 through January 2018.").
                                                                          through January 2018.”).

  And therefore,
  And therefore, the
                 the Court did not
                     Court did not and
                                   and could not rule
                                       could not rule that Mr. Keener
                                                      that Mr. Keener was
                                                                      was operating
                                                                          operating as
                                                                                    as aa dealer
                                                                                          dealer in
                                                                                                 in

  violation of
  violation of the statute at
               the statute at any
                              any time prior to
                                  time prior to January
                                                January 2015.
                                                        2015.

            In CFTC
            In CFTC v. Sidoti, 178
                    v. Sidoti, 178 F.3d 1132 (11th
                                   F.3d 1132 (11th Cir. 1999), the
                                                   Cir. 1999), the Eleventh
                                                                   Eleventh Circuit
                                                                            Circuit faced nearly identical
                                                                                    faced nearly identical

  circumstances when
  circumstances when the district court
                     the district court granted
                                        granted the government’s request
                                                the government's request to disgorge the
                                                                         to disgorge the defendant’s
                                                                                         defendant's

  profits earned
  profits        during time
          earned during      periods when
                        time periods when there was no
                                          there was no evidence of aa violation.
                                                       evidence of    violation. The
                                                                                 The Circuit vacated
                                                                                     Circuit vacated

  the disgorgement award
  the disgorgement award imposed
                         imposed by
                                 by the District Court,
                                    the District        holding that
                                                 Court, holding      “[a] district
                                                                that "[a]          court may
                                                                          district court may not
                                                                                             not order
                                                                                                 order

  disgorgement of
  disgorgement of profits
                  profits for
                          for aa period during which
                                 period during which there was no
                                                     there was no record
                                                                  record evidence of fraud.”
                                                                         evidence of         Id. at
                                                                                     fraud." Id. at

  1138.2
  1138.2

            The SEC
            The SEC argues
                    argues that Judge Louis
                           that Judge Louis erred
                                            erred by
                                                  by failing
                                                     failing to
                                                             to consider
                                                                consider aa one-year
                                                                            one-year tolling agreement.
                                                                                     tolling agreement.

  SEC Objs.
  SEC       at 3-4.
      Objs. at 3-4. However,
                    However, aa tolling agreement only
                                tolling agreement only addresses
                                                       addresses aa statute
                                                                    statute of
                                                                            of limitations
                                                                               limitations defense,
                                                                                           defense, it
                                                                                                    it does
                                                                                                       does

  not relieve
  not relieve the
              the SEC
                  SEC of
                      of its
                         its burden
                             burden of
                                    of proving
                                       proving that
                                               that aa violation
                                                       violation occurred
                                                                 occurred during
                                                                          during the period in
                                                                                 the period in question.
                                                                                               question.

  As shown,
  As shown, the SEC did
            the SEC     not plead
                    did not       or prove
                            plead or prove that Mr. Keener
                                           that Mr. Keener violated
                                                           violated the
                                                                    the statute
                                                                        statute prior
                                                                                prior to
                                                                                      to the
                                                                                         the Relevant
                                                                                             Relevant




  11 In
     In particular,   PSOF 115
        particular, PSOF      ¶ 5 (“Keener
                                  ("Keener has has had
                                                    had offices
                                                         offices .. .. .. between
                                                                          between January
                                                                                     January 20152015 through      January 2018");
                                                                                                         through January       2018”);
   id. ¶ 66 (“Between
   id.                    January 2015
            ("Between January       2015 andand January
                                                January 2018,
                                                           2018, JMJ
                                                                  JMJ had   had as
                                                                                 as many
                                                                                    many as   as 25
                                                                                                  25 employees.
                                                                                                     employees. .. .. .");
                                                                                                                        .”); id.
                                                                                                                              id. ¶¶
                                                                                                                                   ¶¶ 6,
                                                                                                                                      6,
   54,
   54, 56,
        56, 58
             58 (discussing   press releases,
                 (discussing press    releases, dinners,
                                                dinners, andand seminars
                                                                 seminars beginning
                                                                                beginning in   in 2015).
                                                                                                  2015).
   2
     Mr. Keener
  2 Mr.              also repeats
           Keener also     repeats the
                                    the argument
                                          argument set set forth  in Defendant's
                                                           forth in      Defendant’s Objections
                                                                                          Objections to    to the
                                                                                                              the Report
                                                                                                                  Report (“Def.’s
                                                                                                                             ("Def.'s
   Objs.”)
   Objs.") (ECF No. 140) that the Circuit Court's decision in Sidoti, 178 F. 3d, limits disgorgement to
              (ECF   No.   140) that   the  Circuit  Court’s  decision      in  Sidoti, 178   F.  3d, limits  disgorgement           ill-
                                                                                                                                  to ill-
   gotten profits
  gotten    profits that   are causally
                     that are             related to
                               causally related   to the   registration violation.
                                                      the registration       violation. The
                                                                                          The only
                                                                                                 only ill-gotten
                                                                                                        ill-gotten profits
                                                                                                                    profits causally
                                                                                                                              causally
   related to
   related       Mr. Keener’s
             to Mr.              registration violation
                      Keener's registration     violation areare the
                                                                 the costcost savings
                                                                                savings from
                                                                                          from not not registering,
                                                                                                        registering, which
                                                                                                                       which Judge
                                                                                                                                 Judge
   Louis calculated
   Louis   calculated to    be $1,025,000.
                        to be  $1,025,000. See See Report
                                                   Report at at 29;
                                                                29; see
                                                                     see also
                                                                           also SEC
                                                                                SEC v. v. Gane,   2005 WL
                                                                                          Gane, 2005      WL 90154,
                                                                                                               90154, atat *18
                                                                                                                            *18 (S.D.
                                                                                                                                  (S.D.
   Fla.  Jan. 4,
   Fla. Jan.   4, 2005)
                  2005) (refusing
                         (refusing to    award disgorgement
                                     to award   disgorgement for   for aa "mere
                                                                             “mere technical”       violation); SEC
                                                                                     technical" violation);       SEC v.     First City
                                                                                                                         v. First   City
   Fin. Corp.,
   Fin.          890 F.2d
         Carp., 890         1215, 1230
                      F.2d 1215,   1230 (D.C.
                                           (D.C. Cir.  1989) (same);
                                                 Cir. 1989)    (same); U.S. U.S. CFTC
                                                                                  G1-1 C v.   Southern Tr.
                                                                                           v. Southern        Metals, Inc.,
                                                                                                          Tr. Metals, Inc., 894
                                                                                                                            894 F.3d
                                                                                                                                   F.3d
   1313, 1331
  1313,    1331 (11th
                  (11th Cir.  2018) (same,
                         Cir. 2018)   (same, for
                                               for aa registration    violation).
                                                      registration violation).

                                                                    3
                                                                    3
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 5 of 11



  Period that
  Period      it defined,
         that it defined, and
                          and Judge
                              Judge Louis
                                    Louis appropriately
                                          appropriately followed
                                                        followed the
                                                                 the clear
                                                                     clear terms of this
                                                                           terms of this Court’s order on
                                                                                         Court's order on

  this
  this point. There was
       point. There was no
                        no need
                           need to consider the
                                to consider the tolling agreement.3
                                                tolling agreement.'

                   2.
                   2.       Disgorgement Should
                            Disgorgement     Should Only
                                                     Only Include  Transactions Where
                                                          Include Transactions   Where Mr.
                                                                                        Mr. Keener
                                                                                            Keener
                            (i) Acquired aa Convertible
                            (i) Acquired    Convertible note,
                                                        note, (ii)
                                                              (ii) Converted
                                                                   Converted the
                                                                             the Convertible  Note
                                                                                 Convertible Note
                            into Stock
                            into       at aa Discount
                                 Stock at    Discount Pursuant
                                                      Pursuant toto the Terms of
                                                                    the Terms of the Note, and
                                                                                 the Note, and (iii)
                                                                                                (iii)
                            Quickly
                            Quickly Resold
                                     Resold the
                                              the Stock
                                                  Stock Received   Upon Conversion
                                                        Received Upon                in Order
                                                                         Conversion in  Order to
                                                                                              to
                            Capture
                            Capture the
                                     the Spread.
                                         Spread.

          The SEC
          The SEC objects
                  objects to
                          to the
                             the Report by reiterating
                                 Report by reiterating its
                                                       its request
                                                           request for
                                                                   for aa disgorgement
                                                                          disgorgement amount
                                                                                       amount equal
                                                                                              equal to
                                                                                                    to

  the amount set
  the amount set forth in its
                 forth in its Motion
                              Motion for
                                     for Remedies. The SEC's
                                         Remedies. The SEC’s Motion
                                                             Motion for
                                                                    for Remedies based its
                                                                        Remedies based its

  disgorgement amount
  disgorgement amount on
                      on all
                         all of
                             of Mr.
                                Mr. Keener's
                                    Keener’s transactions
                                             transactions other
                                                          other than purchases of
                                                                than purchases of stock
                                                                                  stock in
                                                                                        in the open
                                                                                           the open

  market or
  market or in
            in syndicated
               syndicated offerings.
                          offerings. See
                                     See Pl.'s
                                         Pl.’s Reply in Support
                                               Reply in Support of
                                                                of Mot.
                                                                   Mot. for
                                                                        for Remedies
                                                                            Remedies Ex. B, ECF
                                                                                     Ex. B,     No.
                                                                                            ECF No.

  129-2, at
  129-2, at 2,
            2, n.1. But the
               n.1. But     SEC’s disgorgement
                        the SEC's disgorgement amount
                                               amount should
                                                      should only
                                                             only be
                                                                  be based
                                                                     based on
                                                                           on the
                                                                              the transactions
                                                                                  transactions

  involving the
  involving     conversion of
            the conversion of shares
                              shares (and resulting capitalization
                                     (and resulting                on the
                                                    capitalization on     “spread”) that
                                                                      the "spread")      led to
                                                                                    that led to the
                                                                                                the Court's
                                                                                                    Court’s

  determination that
  determination      he was
                that he was liable
                            liable for violating the
                                   for violating     dealer registration
                                                 the dealer registration requirement.
                                                                         requirement. See
                                                                                      See Def.'s
                                                                                          Def.’s Objs.
                                                                                                 Objs. at
                                                                                                       at

  1 (citing
  1 (citing Order at 21-25
            Order at 21-25 (dealer activity was
                           (dealer activity was "converging]
                                                “convert[ing] more
                                                              more than 100 convertible
                                                                   than 100 convertible notes” into stock
                                                                                        notes" into stock

  at aa "discount
  at    “discount to
                  to the
                     the trading price” and
                         trading price" and selling
                                            selling that stock)); see
                                                    that stock)); see also
                                                                      also Defendant's
                                                                           Defendant’s Opposition to Pl.'s
                                                                                       Opposition to Pl.’s

  Mot. for
  Mot. for Remedies
           Remedies (“Def.’s
                    ("Def.'s Opp.”),
                             Opp."), ECF No. 124
                                     ECF No. 124 at
                                                 at 10.
                                                    10. Mr.
                                                        Mr. Keener
                                                            Keener has
                                                                   has repeatedly objected to
                                                                       repeatedly objected to the
                                                                                              the

  SEC’s disgorgement
  SEC's disgorgement calculations
                     calculations because
                                  because aa large
                                             large portion
                                                   portion of
                                                           of the
                                                              the profits it included
                                                                  profits it included in
                                                                                      in its
                                                                                         its calculations
                                                                                             calculations

  did not
  did not arise
          arise from such conversions.
                from such              See id.
                          conversions. See     at 10-12;
                                           id. at 10-12; Def.'s
                                                         Def.’s Objs. at 11-13.
                                                                Objs. at 11-13. That
                                                                                That is,
                                                                                     is, aa significant
                                                                                            significant

  portion of
  portion of the
             the amount
                 amount the SEC seeks
                        the SEC seeks to disgorge was
                                      to disgorge was earned
                                                      earned from stock market
                                                             from stock market transactions wholly
                                                                               transactions wholly

  different from
  different from the activities that
                 the activities that the SEC claimed,
                                     the SEC          and the
                                             claimed, and the Court
                                                              Court found, made Mr.
                                                                    found, made Mr. Keener liable as
                                                                                    Keener liable as aa

  “dealer.”
  "dealer."



  3
    The SEC
   The   SEC also
              also claims
                   claims that
                           that the applicable statute
                                the applicable  statute of
                                                        of limitations
                                                           limitations changed
                                                                          changed from
                                                                                    from 2828 U.S.C.
                                                                                              U.S.C. §§ 2462
                                                                                                        2462 to  15
                                                                                                             to 15
  U.S.C. §§ 78u(d)(8)(A)
  U.S.C.    78u(d)(8)(A) byby virtue
                               virtue of
                                      of the  National Defense
                                          the National   Defense Authorization
                                                                      Authorization ActAct for
                                                                                            for Fiscal  Year 2021
                                                                                                 Fiscal Year  2021
  (“NDAA”).
  ("NDAA"). SEC  SEC Objs.   at 4.
                      Objs. at      Whether or
                                4. Whether    or not
                                                  not this is correct
                                                      this is  correct asas aa matter
                                                                               matter of
                                                                                      of law,
                                                                                          law, the
                                                                                               the NDAA
                                                                                                   NDAA has has no
                                                                                                                 no
  bearing on
  bearing  on the
              the fact
                  fact that
                       that the  SEC limited
                            the SEC   limited the
                                              the proof
                                                   proof of
                                                          of liability
                                                              liability in
                                                                        in this case to
                                                                           this case    2015 forward
                                                                                     to 2015            or that
                                                                                               forward or  that the
                                                                                                                the
  Court  adopted that
  Court adopted   that time
                        time period  in its
                             period in  its prior
                                            prior ruling.
                                                  ruling. Judge
                                                           Judge Louis
                                                                    Louis did
                                                                            did not
                                                                                not err  in following
                                                                                     err in following the
                                                                                                       the Court’s
                                                                                                            Court's
  ruling on
  ruling on this
            this point.
                 point.

                                                         44
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 6 of 11



          Two transactions
          Two              in particular
              transactions in            stand out.
                              particular stand out. As
                                                    As described
                                                       described in
                                                                 in Defendant's
                                                                    Defendant’s objections
                                                                                objections to the
                                                                                           to the

  Report, Mr. Keener
  Report, Mr. Keener sold shares in
                     sold shares in two
                                    two firms, Advaxis, Inc.
                                        firms, Advaxis, Inc. (“ADXS”) and Northwest
                                                             ("ADXS") and Northwest Biotherapeutics,
                                                                                    Biotherapeutics,

  Inc. (“NWBO”),
  Inc.           prior to
       ("NWBO"), prior    the start
                       to the start of
                                    of the SEC’s Relevant
                                       the SEC's          Period. The
                                                 Relevant Period. The proceeds
                                                                      proceeds of
                                                                               of these sales, which
                                                                                  these sales, which

  totaled approximately $4
  totaled approximately    million, should
                        $4 million, should not
                                           not be
                                               be subject
                                                  subject to disgorgement. Not
                                                          to disgorgement. Not only
                                                                               only did
                                                                                    did they
                                                                                        they pre-date
                                                                                             pre-date

  the
  the Relevant Period, but
      Relevant Period, but they are not
                           they are not the
                                        the type of transactions
                                            type of transactions that
                                                                 that the
                                                                      the Court
                                                                          Court found made Mr.
                                                                                found made Mr. Keener
                                                                                               Keener

  aa dealer.
     dealer. If
             If disgorgement can only
                disgorgement can only be
                                      be awarded
                                         awarded for time periods
                                                 for time periods for which there
                                                                  for which       was aa finding
                                                                            there was            of
                                                                                         finding of

  activities in
  activities in violation
                violation of
                          of the
                             the statute,
                                 statute, Sidoti,
                                          Sidoti, 178
                                                  178 F. 3d at
                                                      F. 3d at 11,
                                                               11, then by the
                                                                   then by     same logic
                                                                           the same logic disgorgement
                                                                                          disgorgement should
                                                                                                       should

  only be
  only be awarded
          awarded for
                  for the
                      the types of activities
                          types of activities for which there
                                              for which       was aa finding
                                                        there was            of liability.
                                                                     finding of liability.

          Even the SEC
          Even the SEC concedes
                       concedes that Mr. Keener's
                                that Mr. Keener’s sales
                                                  sales of
                                                        of stock
                                                           stock from “open market"
                                                                 from "open market” transactions and
                                                                                    transactions and

  syndicated offerings
  syndicated offerings should
                       should not
                              not be
                                  be subject
                                     subject to disgorgement. Pl.'s
                                             to disgorgement. Pl.’s Reply in Support
                                                                    Reply in Support of
                                                                                     of Mot.
                                                                                        Mot. for
                                                                                             for

  Remedies
  Remedies Ex. B, at
           Ex. B, at 2,
                     2, n.1
                        n.1 (“A small fraction
                            ("A small          of Defendant's
                                      fraction of Defendant’s trading activity was
                                                              trading activity was from
                                                                                   from the sale of
                                                                                        the sale of stock
                                                                                                    stock

  from open market
  from open market and
                   and syndicated
                       syndicated offerings.").
                                  offerings.”). That
                                                That can
                                                     can only
                                                         only be
                                                              be because
                                                                 because those
                                                                         those transactions are not
                                                                               transactions are not

  the
  the type
      type that made Mr.
           that made Mr. Keener
                         Keener aa "dealer"
                                   “dealer” required
                                            required to register. The
                                                     to register. The same
                                                                      same applies
                                                                           applies to
                                                                                   to the
                                                                                      the transactions,
                                                                                          transactions,

  like those
  like       involving ADXS
       those involving ADXS and
                            and NWBO,
                                NWBO, that did not
                                      that did not involve
                                                   involve converting
                                                           converting shares
                                                                      shares to capture the
                                                                             to capture the

  “spread.” See
  "spread." See Def.'s
                Def.’s Statement
                       Statement of
                                 of Material
                                    Material Facts
                                             Facts (“DSOF”),
                                                   ("DSOF"), ECF No. 72
                                                             ECF No.    ¶ 33 (“During
                                                                     72 1133          the Relevant
                                                                             ("During the Relevant

  Period, Mr.
  Period, Mr. Keener also obtained
              Keener also obtained shares
                                   shares in
                                          in microcap
                                             microcap companies
                                                      companies through means other
                                                                through means       than
                                                                              other than

  conversions of
  conversions of his
                 his convertible note investments,
                     convertible note investments, including
                                                   including through warrants, settlement
                                                             through warrants, settlement agreements,
                                                                                          agreements,

  exchange agreements
  exchange agreements and
                      and open
                          open market
                               market purchases”)
                                      purchases") (citing DSOF Ex.
                                                  (citing DSOF     2, ECF
                                                               Ex. 2,     No. 72-3,
                                                                      ECF No.       at 81:4-13;
                                                                              72-3, at 81:4-13;

  DSOF Ex.
  DSOF     1, ECF
       Ex. 1,     No. 72-2
              ECF No.      at 86:22-24).
                      72-2 at 86:22-24).

          Instead, Mr. Keener
          Instead, Mr.        was approached
                       Keener was approached by
                                             by an
                                                an investment
                                                   investment bank
                                                              bank to provide bridge
                                                                   to provide bridge loans
                                                                                     loans to both
                                                                                           to both

  issuers while
  issuers while the
                the investment
                    investment bank
                               bank prepared
                                    prepared aa registered stock offering
                                                registered stock offering for
                                                                          for the issuer. See
                                                                              the issuer. See Def.'s
                                                                                              Def.’s Opp.
                                                                                                     Opp.

  Exs.
  Exs. C-D
       C-D (NWBO and ADXS
           (NWBO and ADXS agreements
                          agreements and
                                     and stock
                                         stock sale
                                               sale dates);
                                                    dates); see
                                                            see also
                                                                also DSOF
                                                                     DSOF Ex. 2, ECF
                                                                          Ex. 2,     No. 72-3
                                                                                 ECF No. 72-3

  at 79:2-80:24.
  at             When the
     79:2-80:24. When     investment bank
                      the investment bank was
                                          was unable
                                              unable to
                                                     to raise
                                                        raise enough money for
                                                              enough money     the issuers
                                                                           for the issuers to allow
                                                                                           to allow

  the issuers to
  the issuers    repay the
              to repay     loans in
                       the loans in cash
                                    cash as
                                         as anticipated,
                                            anticipated, Mr.
                                                         Mr. Keener
                                                             Keener entered into negotiated
                                                                    entered into negotiated agreements
                                                                                            agreements

                                                      55
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 7 of 11



  with the
  with     issuers to
       the issuers to accept
                      accept aa fixed number of
                                fixed number of shares
                                                shares of
                                                       of stock
                                                          stock of
                                                                of the issuers as
                                                                   the issuers as repayment of the
                                                                                  repayment of the bridge
                                                                                                   bridge

  loans. Id.4 Moreover,
  loans. Id.4 Moreover, in
                        in both
                           both cases,
                                cases, Mr.
                                       Mr. Keener held the
                                           Keener held     shares for
                                                       the shares     several years,
                                                                  for several years, not
                                                                                     not the six-month
                                                                                         the six-month

  holding period
  holding period that characterized his
                 that characterized his convertible
                                        convertible note
                                                    note transactions. And the
                                                         transactions. And     vast majority
                                                                           the vast majority of
                                                                                             of the
                                                                                                the

  profits from
  profits from these sales came
               these sales came from appreciation in
                                from appreciation in the value of
                                                     the value of the securities during
                                                                  the securities during the years he
                                                                                        the years    held
                                                                                                  he held

  the shares, not
  the shares, not from any kind
                  from any      of spread.
                           kind of spread. See
                                           See Def.'s
                                               Def.’s Opp. at 1-2,
                                                      Opp. at 1-2, 10.
                                                                   10.

          In its
          In its Complaint,
                 Complaint, the SEC based
                            the SEC based its
                                          its allegations
                                              allegations that
                                                          that Mr.
                                                               Mr. Keener
                                                                   Keener was
                                                                          was aa dealer required to
                                                                                 dealer required    register
                                                                                                 to register

  on his
  on his use of convertible
         use of convertible notes
                            notes to capture aa spread:
                                  to capture    spread:

                  Keener "operates
                  Keener    “operates aa business
                                          business through    which he
                                                    through which     he buys
                                                                         buys convertible
                                                                                convertible
                  notes, aa form
                  notes,    form ofof short-term
                                      short-term debt   security, from
                                                  debt security,          penny stock
                                                                    from penny    stock issuers
                                                                                          issuers in
                                                                                                  in
                  need of
                  need  of cash.
                            cash. After
                                  After holding
                                          holding the  notes for
                                                  the notes        approximately six
                                                              for approximately     six months,
                                                                                         months,
                  Keener converts
                  Keener    converts them    into newly
                                       them into  newly issued
                                                         issued shares
                                                                  shares of
                                                                          of stock
                                                                             stock at
                                                                                    at aa deep
                                                                                          deep
                  discount to
                  discount   to the  prevailing market
                                the prevailing   market price,
                                                         price, which
                                                                which he he negotiates
                                                                             negotiates in  in
                  advance of
                  advance    of the   purchase, and
                                 the purchase,    and sells
                                                       sells that stock into
                                                             that stock  into the  market to
                                                                               the market    to
                  lock in
                  lock in aa profit.
                             profit. …
                                     ... [the majority of]
                                         [the majority  of] Keener's
                                                            Keener’s profits
                                                                       profits from
                                                                                from this
                                                                                       this
                  practice …
                  practice      came from
                            ... came    from the   spread between
                                              the spread    between Keener’s
                                                                       Keener's discounted
                                                                                  discounted
                  acquisition cost
                  acquisition   cost for
                                     for the  stock and
                                          the stock  and the
                                                         the prevailing   market price.”
                                                              prevailing market    price."

  Complaint, ¶ 88 (emphasis
  Complaint, ¶              added). That
                  (emphasis added). That was
                                         was also
                                             also the SEC’s focus
                                                  the SEC's       on summary
                                                            focus on summary judgment. Pl.’s Mot.
                                                                             judgment. Pl.'s Mot.

  for Summ. J.
  for Summ. J. at
               at 4,
                  4, 9, 13-14, 18.
                     9, 13-14, 18.

          Likewise, this
          Likewise, this Court
                         Court focused on Mr.
                               focused on Mr. Keener's
                                              Keener’s use
                                                       use of
                                                           of convertible notes to
                                                              convertible notes to capture
                                                                                   capture the spread
                                                                                           the spread

  when finding
  when         him liable
       finding him liable for violating the
                          for violating the dealer
                                            dealer registration
                                                   registration requirement.
                                                                requirement. See
                                                                             See Order at 24
                                                                                 Order at 24 (“Defendant
                                                                                             ("Defendant

  acquired newly
  acquired       issued stock
           newly issued stock directly
                              directly from microcap issuers
                                       from microcap issuers at
                                                             at aa discount,
                                                                   discount, ranging between 10%
                                                                             ranging between 10% to
                                                                                                 to 50%
                                                                                                    50%

  depending on
  depending on the terms of
               the terms of the convertible notes,
                            the convertible        and then
                                            notes, and      resold the
                                                       then resold     stock into
                                                                   the stock into the public
                                                                                  the public

  market.”) (emphasis
  market.")           added); id.
            (emphasis added); id. at
                                  at 25
                                     25 n.
                                        n. 8
                                           8 (refusing
                                             (refusing to “stray from
                                                       to "stray from the
                                                                      the Eleventh
                                                                          Eleventh Circuit’s unequivocal
                                                                                   Circuit's unequivocal

  determination in
  determination in Big
                   Big Apple
                       Apple that evidence of
                             that evidence of aa conversion
                                                 conversion discount is instructive
                                                            discount is instructive of
                                                                                    of dealer
                                                                                       dealer

  activity”)
  activity") (emphasis added); id.
             (emphasis added);     at 21
                               id. at 21 (“Defendant
                                         ("Defendant ‘admits
                                                     `admits that he converted
                                                             that he converted more
                                                                               more than 100
                                                                                    than 100



  4
  4Mr. Keener’s
   Mr.             accepting stock
         Keener's accepting    stock as
                                     as repayment
                                         repayment ofof his
                                                        his bridge
                                                            bridge loans
                                                                    loans allowed
                                                                           allowed the  investment bank
                                                                                    the investment  bank to
                                                                                                          to
  complete its
  complete  its public    offering and
                  public offering   and successfully
                                          successfully resulted  in both
                                                       resulted in  both companies      becoming listed
                                                                           companies becoming     listed on
                                                                                                         on
  NASDAQ, at
  NASDAQ,      at which
                  which time
                        time they  ceased to
                              they ceased     be "penny
                                           to be “penny stocks."
                                                         stocks.” DSOF
                                                                   DSOF ¶  ¶ 29;
                                                                             29; DSOF
                                                                                 DSOF Ex.  29, ECF
                                                                                       Ex. 29,      No. 72-
                                                                                               ECF No.   72-
  31 at
  31 at 3
        3 (Mr. Keener’s investments
          (Mr. Keener's  investments allowed
                                       allowed ADXS
                                                ADXS andand NWBO
                                                            NWBO to      uplist to
                                                                      to uplist    NASDAQ).
                                                                                to NASDAQ).

                                                          66
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 8 of 11



  [convertible] notes from
  [convertible] notes      more than
                      from more      100 different
                                than 100 different microcap
                                                   microcap issuers.'
                                                            issuers.’ .. .. .. Additionally,
                                                                               Additionally, Defendant
                                                                                             Defendant does
                                                                                                       does

  not genuinely
  not genuinely dispute
                dispute that he sought
                        that he sought to
                                       to make
                                          make aa profit
                                                  profit from selling the
                                                         from selling     converted stock.")
                                                                      the converted stock.”) (emphasis
                                                                                             (emphasis

  added). And
  added). And Judge
              Judge Louis
                    Louis followed
                          followed this
                                   this Court’s lead in
                                        Court's lead in finding
                                                        finding that the activities
                                                                that the activities that made Mr.
                                                                                    that made Mr. Keener
                                                                                                  Keener

  aa dealer
     dealer were
            were those involving converting
                 those involving            debt into
                                 converting debt into shares
                                                      shares and
                                                             and quickly selling them
                                                                 quickly selling them to
                                                                                      to capture
                                                                                         capture the
                                                                                                 the

  spread. Report
  spread.        at 2.
          Report at 2.

          The SEC
          The SEC has
                  has not
                      not explained
                          explained why
                                    why Mr.
                                        Mr. Keener’s sales proceeds
                                            Keener's sales proceeds from stock acquired
                                                                    from stock acquired in
                                                                                        in the open
                                                                                           the open

  market or
  market or in
            in syndicated offerings should
               syndicated offerings should not
                                           not be
                                               be included
                                                  included in
                                                           in the disgorgement calculation,
                                                              the disgorgement calculation, whereas
                                                                                            whereas

  other types
  other       of transactions
        types of              not involving
                 transactions not involving conversions
                                            conversions of
                                                        of convertible notes at
                                                           convertible notes at aa discount
                                                                                   discount pursuant
                                                                                            pursuant to
                                                                                                     to

  their
  their terms and quickly
        terms and quickly reselling
                          reselling to
                                    to capture
                                       capture the spread should
                                               the spread should be
                                                                 be included.
                                                                    included. It
                                                                              It just brushes the
                                                                                 just brushes     issue
                                                                                              the issue

  aside by
  aside by invoking
           invoking the
                    the "reasonable
                        “reasonable approximation"
                                    approximation” standard,
                                                   standard, but
                                                             but what
                                                                 what transactions to include
                                                                      transactions to include in
                                                                                              in the
                                                                                                 the

  disgorgement calculation
  disgorgement             is aa separate
               calculation is    separate question
                                          question from how to
                                                   from how    reasonably approximate
                                                            to reasonably approximate the profits earned
                                                                                      the profits earned

  from such transactions.
  from such transactions. In any event,
                          In any event, as
                                        as discussed
                                           discussed above,
                                                     above, the ADXS and
                                                            the ADXS and NWBO
                                                                         NWBO transactions did not
                                                                              transactions did not

  involve the
  involve     conversion of
          the conversion of convertible notes at
                            convertible notes at aa discount.
                                                    discount.

          In his
          In his Opposition
                 Opposition to
                            to the SEC’s Motion
                               the SEC's Motion for
                                                for Remedies, Mr. Keener
                                                    Remedies, Mr. Keener argued
                                                                         argued that
                                                                                that the proceeds
                                                                                     the proceeds

  from
  from these
       these two bridge loan
             two bridge loan transactions should not
                             transactions should not be
                                                     be included
                                                        included in
                                                                 in the disgorgement calculation
                                                                    the disgorgement calculation

  because the
  because the transactions
              transactions were
                           were so
                                so distinct
                                   distinct from
                                            from the convertible note
                                                 the convertible      activity that
                                                                 note activity      gave rise
                                                                               that gave rise to
                                                                                              to the
                                                                                                 the finding
                                                                                                     finding

  of dealer
  of dealer liability.
            liability. Def.'s
                       Def.’s Opp. at 1-2,
                              Opp. at 1-2, 10-12.
                                           10-12. Judge
                                                  Judge Louis
                                                        Louis noted
                                                              noted this argument but
                                                                    this argument but did
                                                                                      did not
                                                                                          not address
                                                                                              address

  it. Report
  it.        at 24.
      Report at 24. Instead, she simply
                    Instead, she simply accepted
                                        accepted the SEC’s disgorgement
                                                 the SEC's disgorgement calculation
                                                                        calculation that included these
                                                                                    that included these

  proceeds, which
  proceeds, which amounted
                  amounted to approximately $5.4
                           to approximately      million —
                                            $5.4 million – roughly
                                                           roughly 75% of the
                                                                   75% of the total recommended
                                                                              total recommended

  disgorgement amount.
  disgorgement amount. Id.
                       Id. at
                           at 24-25.
                              24-25.

          This issue
          This issue cannot simply be
                     cannot simply be brushed
                                      brushed aside
                                              aside under
                                                    under the “reasonable approximation"
                                                          the "reasonable approximation” standard.
                                                                                         standard.

  See S.E.C.
  See S.E.C. v.
             v. Calvo, 378 F.3d
                Calvo, 378      1211, 1217
                           F.3d 1211, 1217 (11th
                                           (11th Cir. 2004) (in
                                                 Cir. 2004)     order to
                                                            (in order    obtain disgorgement,
                                                                      to obtain disgorgement, the
                                                                                              the SEC
                                                                                                  SEC

  must "produc[e]
  must “produc[e] aa reasonable
                     reasonable approximation
                                approximation of
                                              of aa defendant's
                                                    defendant’s ill-gotten
                                                                ill-gotten gains").
                                                                           gains”).            The proper
                                                                                               The proper

  calculation of
  calculation of disgorgement,
                 disgorgement, limited
                               limited only
                                       only to
                                            to the
                                               the conduct
                                                   conduct this
                                                           this Court’s
                                                                Court's Order
                                                                        Order found
                                                                              found to violate the
                                                                                    to violate     statute
                                                                                               the statute


                                                      77
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 9 of 11



  and limited
  and limited only
              only to
                   to the
                      the Relevant Period, is
                          Relevant Period, is set
                                              set forth in detail
                                                  forth in detail in
                                                                  in Mr.
                                                                     Mr. Keener’s
                                                                         Keener's Objections
                                                                                  Objections to
                                                                                             to the
                                                                                                the Report.
                                                                                                    Report.

  Def.’s Objs.
  Def.'s       at 11-13;
         Objs. at 11-13; Def.'s
                         Def.’s Opp
                                Opp Ex. B, ECF
                                    Ex. B,     No. 124-2,
                                           ECF No. 124-2, at
                                                          at 15.
                                                             15.

          B.
          B.      Prejudgment
                  Prejudgment Interest
                               Interest Should Not Be
                                        Should Not Be Awarded,
                                                      Awarded, But
                                                               But If
                                                                   If It
                                                                      It Is, Then Judge
                                                                         Is, Then Judge
                  Louis’ Calculation
                  Louis'             Should be
                         Calculation Should    Adopted
                                            be Adopted

          As already
          As already set
                     set out
                         out in
                             in Mr.
                                Mr. Keener’s
                                    Keener's Objections, prejudgment interest
                                             Objections, prejudgment interest on
                                                                              on disgorgement is not
                                                                                 disgorgement is not

  warranted here.
  warranted here. See
                  See Def.'s
                      Def.’s Objs. at 13-14.
                             Objs. at 13-14.

          If,
          If, however,
              however, prejudgment interest is
                       prejudgment interest is to be awarded,
                                               to be awarded, the
                                                              the Court should adopt
                                                                  Court should adopt Judge
                                                                                     Judge Louis'
                                                                                           Louis’

  calculation. She
  calculation. She noted
                   noted that “although there
                         that "although       is no
                                        there is no universal method for
                                                    universal method     calculating prejudgment
                                                                     for calculating prejudgment

  interest, many
  interest, many courts
                 courts appear
                        appear to calculate prejudgment
                               to calculate prejudgment interest
                                                        interest on
                                                                 on the
                                                                    the final disgorgement amount
                                                                        final disgorgement amount

  sought, which
  sought, which is
                is the
                   the realized
                       realized amount
                                amount of
                                       of the unlawful gain."
                                          the unlawful gain.” Report at 26.
                                                              Report at 26. Further, she cited
                                                                            Further, she cited multiple
                                                                                               multiple

  cases in
  cases in support
           support of
                   of this approach. Id.
                      this approach. Id. (citing SEC v.
                                         (citing SEC    BIH Corp.,
                                                     v. BIH        2014 WL
                                                            Carp., 2014 WL 7499053, at *8
                                                                           7499053, at *8 (M.D.
                                                                                          (M.D. Fla.
                                                                                                Fla.

  Dec. 12,
  Dec. 12, 2014); SEC v.
           2014); SEC v. Yun, 148 F.
                         Yun, 148    Supp. 2d
                                  F. Supp. 2d 1287,
                                              1287, 1293
                                                    1293 (M.D.
                                                         (M.D. Fla. 2001); SEC
                                                               Fla. 2001); SEC v. Almagarby, 2021
                                                                               v. Almagarby, 2021 WL
                                                                                                  WL

  4461831, at *2
  4461831, at *2 (S.D.
                 (S.D. Fla. Aug. 16,
                       Fla. Aug. 16, 2021)).
                                     2021)). The
                                             The SEC
                                                 SEC offers
                                                     offers no
                                                            no legal
                                                               legal argument
                                                                     argument as
                                                                              as to
                                                                                 to why
                                                                                    why Judge
                                                                                        Judge Louis,
                                                                                              Louis,

  and the
  and     multiple cases
      the multiple cases she
                         she relied upon, are
                             relied upon, are wrong.
                                              wrong. It simply asks
                                                     It simply asks this
                                                                    this Court
                                                                         Court to exercise its
                                                                               to exercise its discretion
                                                                                               discretion

  to impose aa method
  to impose    method of
                      of calculation
                         calculation that would be
                                     that would be more
                                                   more damaging
                                                        damaging to Mr. Keener,
                                                                 to Mr.         without any
                                                                        Keener, without any showing
                                                                                            showing

  that
  that aa more
          more damaging
               damaging method
                        method is
                               is warranted.
                                  warranted. See
                                             See Def.'s
                                                 Def.’s Obj. at 13.
                                                        Obj. at 13. The
                                                                    The SEC's
                                                                        SEC’s request
                                                                              request should
                                                                                      should be
                                                                                             be

  rejected.
  rejected.

          C.
          C.      A Civil
                  A Civil Penalty Should Not
                          Penalty Should Not Be Awarded, But
                                             Be Awarded, But If
                                                             If It
                                                                It Is, Then Judge
                                                                   Is, Then Judge Louis'
                                                                                  Louis’
                  Calculation Should Be  Adopted
                  Calculation Should Be Adopted

          In his
          In his Objections, Mr. Keener
                 Objections, Mr. Keener argued
                                        argued that no civil
                                               that no       penalty was
                                                       civil penalty was warranted
                                                                         warranted and
                                                                                   and that almost the
                                                                                       that almost the

  entire amount
  entire amount Judge
                Judge Louis
                      Louis recommended
                            recommended as
                                        as aa civil
                                              civil penalty is better
                                                    penalty is better categorized as disgorgement
                                                                      categorized as disgorgement

  anyway, since
  anyway,       it expressly
          since it expressly reflects
                             reflects the registration fees
                                      the registration fees that Mr. Keener
                                                            that Mr.        did not
                                                                     Keener did not incur
                                                                                    incur by
                                                                                          by not
                                                                                             not registering
                                                                                                 registering

  as aa dealer.
  as    dealer. See
                See Def.'s
                    Def.’s Objs. at 14-15.
                           Objs. at 14-15. However,
                                           However, to
                                                    to the
                                                       the extent
                                                           extent aa civil
                                                                     civil penalty is to
                                                                           penalty is    be imposed,
                                                                                      to be imposed, Judge
                                                                                                     Judge

  Louis’ computation
  Louis'             should be
         computation should be adopted.
                               adopted. The
                                        The SEC,
                                            SEC, on
                                                 on the other hand,
                                                    the other hand, merely
                                                                    merely stands
                                                                           stands by
                                                                                  by its
                                                                                     its original
                                                                                         original

  proposal and
  proposal and arbitrary
               arbitrary methodology
                         methodology without
                                     without further
                                             further explanation. See SEC
                                                     explanation. See SEC Objs. at 6.
                                                                          Objs. at    The SEC
                                                                                   6. The SEC also
                                                                                              also


                                                      8
                                                      8
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 10 of 11



   asserts that,
   asserts that, even if this
                 even if this Court accepts Judge
                              Court accepts Judge Louis'
                                                  Louis’ approach,
                                                         approach, transactions
                                                                   transactions from 2014 should
                                                                                from 2014 should be
                                                                                                 be

   included in
   included in the
               the penalty determination. Id.
                   penalty determination. Id. As
                                              As noted
                                                 noted above,
                                                       above, this position is
                                                              this position is contrary
                                                                               contrary to this Court's
                                                                                        to this Court’s

   prior order,
   prior order, and
                and the SEC’s proof,
                    the SEC's proof, Judge
                                     Judge Louis
                                           Louis rightly
                                                 rightly rejected it. See
                                                         rejected it. See Report at 22;
                                                                          Report at 22; Order at 30.
                                                                                        Order at 30.

          The SEC
          The SEC offers
                  offers no
                         no legal
                            legal argument
                                  argument to
                                           to further increase Judge
                                              further increase Judge Louis'
                                                                     Louis’ recommended penalty
                                                                            recommended penalty

   amount, which
   amount, which is
                 is already
                    already excessive. See Def.'s
                            excessive. See Def.’s Objs. at 15.
                                                  Objs. at 15.

   III.
   III.   CONCLUSION
          CONCLUSION

          Mr. Keener
          Mr. Keener respectfully
                     respectfully submits
                                  submits that
                                          that the SEC’s Objections
                                               the SEC's Objections to Magistrate Judge
                                                                    to Magistrate Judge Louis'
                                                                                        Louis’ Report
                                                                                               Report

   and Recommendation
   and                should be
       Recommendation should be rejected
                                rejected and
                                         and overruled.
                                             overruled.



   Dated: September
   Dated: September 6, 2022
                    6, 2022                       Respectfully submitted,
                                                  Respectfully submitted,

                                                  G          TRAURIG LLP
                                                    REENBERG TRAURIG
                                                  GREENBERG          LLP

                                                  /s/ Benjamin G.
                                                  /s/ Benjamin  G. Greenberg
                                                                   Greenberg
                                                  Benjamin G.
                                                  Benjamin    G. Greenberg
                                                                  Greenberg
                                                  Florida Bar No.
                                                  Florida Bar  No. 192732
                                                                   192732
                                                  333 SE  2nd  Avenue  Suite 4400
                                                  333 SE 2nd Avenue Suite    4400
                                                  Miami, FL
                                                  Miami,      33131
                                                          FL 33131
                                                  Telephone: (305)
                                                  Telephone:   (305) 579-0850
                                                                     579-0850
                                                  Facsimile:
                                                  Facsimile: (305)
                                                             (305) 579-0717
                                                                   579-0717
                                                  greenbergb@gtlaw.com
                                                  greenbergb@gdaw.com

                                                  -and-
                                                  -and-

                                                  BUCKLEY LLP
                                                  BUCKLEY    LLP
                                                  Christopher
                                                  Christopher F. F. Regan   pro hac
                                                                    Regan ((pro   hac vice
                                                                                      vice))
                                                  Adam Miller
                                                  Adam            pro hac
                                                         Miller ((pro  hac vice
                                                                           vice))
                                                  2001 M
                                                  2001  M Street
                                                          Street NW,
                                                                  NW, Suite
                                                                       Suite 500
                                                                             500
                                                  Washington, DC
                                                  Washington,   DC 20036
                                                                     20036
                                                  Telephone: (202)
                                                  Telephone:         349-8000
                                                               (202) 349-8000
                                                  Facsimile:
                                                  Facsimile: (202)  349-8080
                                                             (202) 349-8080
                                                  cregan@buckleyfirm.com
                                                  cregan@buckleyfirm.com
                                                  amiller@buckleyfirm.com
                                                  amiller@buckleyfirm.com

                                                  Counsel for Defendant
                                                  Counsellor  Defendant Justin
                                                                        Justin W. Keener
                                                                               W. Keener




                                                      99
Case 1:20-cv-21254-BB Document 144 Entered on FLSD Docket 09/06/2022 Page 11 of 11



                                     CERTIFICATE
                                     CERTIFICATE OF SERVICE
                                                 OF SERVICE

          II hereby
             hereby certify
                    certify that
                            that II have
                                    have this day served
                                         this day served via
                                                         via ECF
                                                             ECF aa true and correct
                                                                    true and correct copy
                                                                                     copy of
                                                                                          of the
                                                                                             the foregoing
                                                                                                 foregoing
   Defendant’s Response
   Defendant's Response to Plaintiff’s Objections
                        to Plaintiff's Objections to Magistrate Judge's
                                                  to Magistrate Judge’s Report and Recommendation
                                                                        Report and Recommendation
   to
   to the
      the following:
          following.


           Joshua E.
           Joshua    Braunstein (Special
                  E. Braunstein            Bar No.
                                  (Special Bar No. A5502640)
                                                   A5502640)
           Antony Richard
           Antony           Petrilla (Special
                   Richard Petrillo           Bar No.
                                     (Special Bar No. A5502641)
                                                      A5502641)
           Attorneys for
           Attorneys     Plaintiff
                     for Plaintiff
           SECURITIES AND
           SECURITIES     AND EXCHANGE
                                 EXCHANGE COMMISSION
                                                  COMMISSION
           100 F
           100 F Street
                 Street NE
                        NE
           Washington, DC
           Washington,  DC 20549
                             20549
           Telephone: (202)
           Telephone:  (202) 551-8470
                             551-8470
           Braunsteinj@sec.gov
           Braunsteinj@sec.gov

           Attorneys for
           Attorneys  for Plaintiff
                          Plaintiff
           Securities and
           Securities and Exchange
                          Exchange Commission
                                    Commission

                                                                      th
                                                          This, the
                                                          This, the 6
                                                                    6th  of September,
                                                                         of September, 2022
                                                                                       2022

                                                          /s/ Benjamin G.
                                                          /s/ Benjamin G. Greenberg
                                                                          Greenberg
                                                          Benjamin G.
                                                          Benjamin  G. Greenberg
                                                                       Greenberg




                                                     10
                                                     10
